           Case 16-58673-lrc                Doc 48 Filed 06/07/18 Entered 06/07/18 15:30:05                                Desc Ch 7
                                              First Meeting I/J No POC Page 1 of 2
Information to identify the case:
Debtor 1               Lakrishna Devaki Long                                               Social Security number or ITIN       xxx−xx−3581
                       First Name   Middle Name   Last Name                                EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                   Social Security number or ITIN _ _ _ _
                       First Name   Middle Name   Last Name
(Spouse, if filing)
                                                                                           EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court Northern District of Georgia                                Date case filed in chapter 13              5/17/16
Court website: www.ganb.uscourts.gov
                                                                                           Date case converted to chapter 7          6/7/18
Case number:          16−58673−lrc


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                            12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has been
entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about the
meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take
action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot sue,
garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand
repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and punitive
damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all, although debtors
can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who want
to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within the
deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the
address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov). Copy fees or access
charges may apply. A free automated response system is available at 866−222−8029 (Georgia Northern). You must have case
number, debtor name, or SSN when calling.

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document filed
with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of a
Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file with the
court.
                                          About Debtor 1:                                     About Debtor 2:
1. Debtor's full name                     Lakrishna Devaki Long
2. All other names used in the
   last 8 years
3. Address                                PO Box 3438
                                          Decatur, GA 30031
4. Debtor's attorney                      Howard P. Slomka
                                          Slipakoff & Slomka, PC
   Name and address                       Overlook III − Suite 1700
                                          2859 Paces Ferry Rd, SE
                                          Atlanta, GA 30339

                                          Contact phone (404) 800−4001
                                          Email: se@myatllaw.com
5. Bankruptcy trustee                     William J. Layng Jr.                                Contact phone (404) 276−4749
                                          William J. Layng, Jr., PC
   Name and address                       Suite 3477
                                          2451 Cumberland Parkway
                                          Atlanta, GA 30339−6157
                                                                                                                   For more information, see page 2 >
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Debtor Lakrishna Devaki Long                                                                                                       Case number 16−58673−lrc


6. Bankruptcy clerk's office                    M. Regina Thomas                                               Office Hours: 8:00 a.m. − 4:00 p.m.
                                                Clerk of Court
    Documents in this case may be filed at                                                                     Court website: www.ganb.uscourts.gov
    this address. You may inspect all           1340 United States Courthouse
    records filed in this case at this office   75 Ted Turner Drive SW
    or online at www.pacer.gov.                                                                                Contact phone 404−215−1000
                                                Atlanta, GA 30303

7. Meeting of creditors                         July 10, 2018 at 08:30 AM                                      Location:

    Debtors must attend the meeting to be The meeting may be continued or adjourned to a                       Third Floor − Room 367, Russell Federal
    questioned under oath. In a joint case, later date. If so, the date will be on the court                   Building, 75 Ted Turner Drive SW,
    both spouses must attend. Bring a
    copy of this notice with you. Creditors docket.                                                            Atlanta, GA 30303
    may attend, but are not required to do
    so. Cellular phones and other devices TO THE DEBTOR: Bring an original government issued photo
    with cameras are not allowed in the     ID and confirmation of social security number. Provide the
    building.                               Trustee a copy of your most recently filed tax return seven days
                                            prior to the meeting, but DO NOT FILE WITH THE COURT.


8. Presumption of abuse                         The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                    File by the deadline to object to discharge or Filing deadline: 9/10/18
                                                to challenge whether certain debts are
    The bankruptcy clerk's office must          dischargeable:
    receive these documents and any
    required filing fee by the following
    deadlines.                                  You must file a complaint:
                                                • if you assert that the debtor is not entitled to
                                                  receive a discharge of any debts under any of the
                                                  subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                  or

                                                • if you want to have a debt excepted from discharge
                                                  under 11 U.S.C § 523(a)(2), (4), or (6).

                                                You must file a motion:
                                                • if you assert that the discharge should be denied
                                                  under § 727(a)(8) or (9).


                                                Deadline to object to exemptions:                              Filing deadline: 30 days after the conclusion of
                                                The law permits debtors to keep certain property as            the meeting of creditors
                                                exempt. If you believe that the law does not authorize an
                                                exemption claimed, you may file an objection.


10. Proof of claim                              No property appears to be available to pay creditors. Therefore, please do not file a proof of
                                                claim now. If it later appears that assets are available to pay creditors, the clerk will send you
    Please do not file a proof of claim         another notice telling you that you may file a proof of claim and stating the deadline.
    unless you receive a notice to do so.


11. Creditors with a foreign                    If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking
    address                                     the court to extend the deadlines in this notice. Consult an attorney familiar with United States
                                                bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                             The law allows debtors to keep certain property as exempt. Fully exempt property will not be
                                                sold and distributed to creditors. Debtors must file a list of property claimed as exempt. You
                                                may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you believe
                                                that the law does not authorize an exemption that the debtors claim, you may file an objection.
                                                The bankruptcy clerk's office must receive the objection by the deadline to object to
                                                exemptions in line 9.
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